
300 Multiple Choices

Multiple Choices
The document name you requested (/attorneys/assets/opinions/appellate/unpublished/a5576-14.pdf) could not be found on this server.
However, we found documents with names similar to the one you requested.Available documents:

/attorneys/assets/opinions/appellate/unpublished/a5276-14.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a5376-14.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a5526-14.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a5076-14.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a5570-14.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a5596-14.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a5576-12.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a5577-14.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a5579-14.pdf (mistyped character)


IBM_HTTP_Server at www.judiciary.state.nj.us Port 443
